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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               GREENVILLE DIVISION

DISH NETWORK L.L.C., ECHOSTAR                  )
                                                   CA No. 6:14-cv-02292-TMC
TECHNOLOGIES L.L.C., and                       )
NAGRASTAR LLC,                                 )
                                               )
                     Plaintiffs,               )
                                               )
       v.                                      )
                                               )
FREDDIE CUNNINGHAM,                            )
                                               )
                     Defendant.                )
                                               )
                                               )

                    FINAL ORDER AND PERMANENT INJUNCTION

I.     NATURE OF THE CASE

       1.      Plaintiffs DISH Network L.L.C., EchoStar Technologies L.L.C., and NagraStar

LLC (collectively, “DISH Network”) brought this action against Defendant Freddie Cunningham

for unlawfully circumventing the DISH Network security system and intercepting encrypted,

copyrighted, subscription-based DISH Network satellite television programming. Defendant

accomplished this in part by subscribing to the pirate television service known as IKS Rocket.

The IKS Rocket service provided Defendant with the control words needed to decrypt DISH

Network’s satellite signal and view DISH Network programming without authorization from or

payment to DISH Network.

       2.      Defendant was properly served with a copy of the summons and complaint, but

failed to file an answer, responsive pleading, or otherwise defend the lawsuit within the time

allowed. DISH Network submitted evidence that Defendant is not an infant, not an incompetent

person, and not on active duty in the military or otherwise exempted under the Servicemembers’

Civil Relief Act.
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       3.      As a result of Defendant’s failure to answer, or otherwise appear in this action, the

Court accepts as true the following well pled allegations in DISH Network’s complaint:

               (a)    DISH Network is a multi-channel video provider that delivers video,

audio, and data services to approximately 14 million subscribers via a direct broadcast satellite

system. DISH Network uses high-powered satellites to broadcast, among other things, movies,

sports and general entertainment services to consumers who have been authorized to receive

such services after payment of a subscription fee, or in the case of a pay-per-view movie or event

the purchase price. (Dkt. 1, ¶¶ 9-10.)

               (b)    DISH Network contracts for and purchases the distribution rights for most

of the programming broadcast on the DISH Network platform from providers such as network

affiliates, motion picture distributors, pay and specialty broadcasters, cable networks, sports

leagues, and other holders of programming rights. The works broadcast on the DISH Network

platform are copyrighted. DISH Network has the authority of the copyright holders to protect

these works from unauthorized reception and viewing. (Dkt. 1, ¶¶ 11-12.)

               (c)    DISH Network programming is digitized, compressed, and scrambled

prior to being transmitted to multiple satellites in geo-synchronous orbit above Earth. The

satellites then relay the encrypted signal back to Earth where it can be received by DISH

Network subscribers that have the necessary equipment. (Dkt. 1, ¶ 13.)

               (d)    The EchoStar Technologies receiver processes an incoming DISH

Network satellite signal by locating an encrypted part of the transmission known as the

entitlement control message and forwards that message to the NagraStar smart card. Provided

that the subscriber is tuned to a channel he is authorized to watch, the smart card uses its

decryption keys to unlock the message, uncovering a control word.            The control word is


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transmitted back to the receiver in order to decrypt the DISH Network satellite signal. (Dkt. 1,

¶¶ 17-18.)

                (e)    IKS Rocket is an Internet key sharing (“IKS”) service that provides end-

users the control words needed to descramble DISH Network television programming without

authority and without payment of a subscription fee to DISH Network. (Dkt. 1, ¶ 25.)

                (f)    Defendant violated the Electronic Communications Privacy Act, 18 U.S.C.

§§ 2511(1)(a) and 2520, as alleged in Count III, by obtaining DISH Network’s control words

through the IKS Rocket service and using them to intentionally intercept DISH Network

programming. (Dkt. 1, ¶¶ 26-27, 39-41.)

        4.      In accordance with 18 U.S.C. §§ 2511(1)(a) and 2520, DISH Network requested

statutory damages of $10,000, a sum certain, for Defendant’s interception of DISH Network’s

encrypted satellite signal.

        5.      DISH Network has agreed to dismiss with prejudice Count I alleging violations of

the Digital Millennium Copyright Act, 17 U.S.C. § 1201(a)(1), and Count II alleging violations

of the Federal Communications Act, 47 U.S.C. § 605(a), so that a final judgment may be entered

in this case.

II.     FINAL JUDGMENT & PERMANENT INJUNCTION

        Upon default of the Defendant, the Court, having reviewed the record, evidence, and

applicable law in this matter, hereby ORDERS as follows:

        (1)     Defendant and anyone acting in active concert or participation with, or at the

direction or control of Defendant, is hereby permanently enjoined from:




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                A.     circumventing or assisting others in circumventing DISH Network’s

security system, or otherwise intercepting or assisting others in intercepting DISH Network’s

satellite signal;

                B.     testing, analyzing, reverse engineering, manipulating, or otherwise

extracting codes, data, or information from DISH Network’s satellite receivers, smart cards,

satellite data stream, or any other part or component of the DISH Network security system.

        (2)     This permanent injunction takes effect immediately.

        (3)     Judgment is entered in favor of DISH Network on Count III of the complaint

alleging violations of 18 U.S.C. §§ 2511(1)(a) and 2520.

        (4)     Statutory damages in the amount of $10,000 are awarded to DISH Network in

accordance with 18 U.S.C. § 2520(c)(2)(B).

        (5)     The Court retains jurisdiction over this action for the purpose of enforcing this

final judgment and permanent injunction.

        IT IS SO ORDERED.



                                                    /s/ Timothy M. Cain
                                                    Timothy M. Cain
                                                    United States District Judge

November 4, 2014
Anderson, South Carolina




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